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     Federal Defender
2
     JEFFREY L. STANIELS, Bar #91413
3    Assistant Federal Defender
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     Sacramento, California 95814
5    Telephone: (916) 498-5700
6
     Attorney for Defendant
7    JESUS LUPIAN
8
9
                         IN THE UNITED STATES DISTRICT COURT
10
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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13
     UNITED STATES OF AMERICA,      ) No. 2:07-cr-00298 MCE
14                                  )
                    Plaintiff,      )
15                                  ) STIPULATION AND ORDER CONTINUING
          v.                        ) CASE AND EXCLUDING TIME
16                                  )
     JESUS LUPIAN                   )
17                                  ) Date: December 6, 2007
                    Defendant.      ) Time: 9:00 a.m.
18                                  ) Judge: Hon. Morrison C. England, Jr.
     ______________________________ )
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21         IT IS HEREBY STIPULATED by and between Assistant United States
22   Attorney Heiko P. Coppola, counsel for Plaintiff, Assistant Federal
23   Defender Jeffrey L. Staniels, counsel for Defendant Lupian that the
24   above case be dropped from this court’s December 6, 2007, calendar,
25   that it be continued until December 20, 2007, at 9:00 a.m., and that
26   time be excluded between December 6, 2007, and December 20, 2007,
27   pursuant to 18 U.S.C. § 3161(h)(8)(A) & (B)(iv). Local Code T-4.
28   ///
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1          This continuance is sought due to defense counsel’s unavailability
2    while involved in a two month long jury trial before the Hon. William
3    B. Shubb, and in order to conduct discussions and further consultation
4    and   preparation for possible resolution of the case.
5          IT IS SO STIPULATED.
6
7    Dated:    December 5, 2007            /S/ Heiko P. Coppola
                                          HEIKO P. COPPOLA
8                                         Assistant United States Attorney
                                          Counsel for Plaintiff
9
10
     Dated:    December 5, 2007            /S/ Jeffrey L. Staniels
11                                        Jeffrey L. Staniels
                                          Assistant Federal Defender
12                                        Counsel for Defendant
                                          FRANCISCO BUCIO
13
14
                                           O R D E R
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16         IT IS SO ORDERED.
17
18    Dated: December 7, 2007

19
                                             _____________________________
20                                           MORRISON C. ENGLAND, JR.
21                                           UNITED STATES DISTRICT JUDGE

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     Stipulation & Order
     Continuing Case and Excluding Time        2
